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                       UNITED STATES DISTRICT COURT
                       EASTERN DISTRICT OF LOUISIANA


RONALD J. CAMUS                                                    CIVIL ACTION

V.                                                                 NO. 21-168

MARQUETTE TRANSPORTATION COMPANY, LLC                              SEC. “H”(3)



                   NOTICE OF SCHEDULING CONFERENCE

      A SCHEDULING CONFERENCE is set, by telephone, for DECEMBER 7,
2021 at 10:30 a.m. for the purpose of selecting a trial date and pre-trial deadlines.
Counsel are to participate in the conference by dialing (877) 411-9748 and
entering access code 7562821. The Court's case manager will join the call as the
host once all parties are on the line.
      If any party has a conflict with the selected date or time of the conference, they
should notify the case manager at the email address listed below.



                                         JANE TRICHE MILAZZO
                                         UNITED STATES DISTRICT JUDGE

                                         Issued for the Court:

                                         By: Erin Mouledous
                                             Case Manager
                                              Erin_Mouledous@laed.uscourts.gov


                          NOTICE
COUNSEL ADDING NEW PARTIES SUBSEQUENT TO THE MAILING OF THIS
NOTICE SHALL NOTIFY SUCH NEW PARTY TO APPEAR AS REQUIRED BY
THIS NOTICE.
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               IMPORTANT NOTICE TO COUNSEL

COUNSEL WILL BE REQUIRED TO ANSWER THE
FOLLOWING QUESTIONS REGARDING DISCLOSURE AT THE
CONFERENCE:

1.   Have all parties completed your Rule 26(a)(1) mandatory
     initial disclosures?

2.   Have all parties stipulated that initial disclosures under Rule
     26(a)(1) will not be made in this case?

3.   Do any of the parties object to making Rule 26(a)(1) initial
     disclosures in this case? *

*WRITTEN OBJECTIONS MUST BE FILED THREE WORKING
DAYS PRIOR TO THE SCHEDULING CONFERENCE.
